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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

JOHN DOE,                                              :
                                                       :
                                                       :
                        Plaintiff,                     :      Civil Action No: ______
                                                       :
                                                       :
                 -against-                             :      COMPLAINT
                                                       :
                                                       :
YALE UNIVERSITY, YALE                                  :      JURY TRIAL
UNIVERSITY BOARD OF TRUSTEES,                          :
SHERILYN SCULLY in her individual and                  :
official capacity, ANJANI JAIN in his                  :
individual and official capacity, WENDY                :
TSUNG in her individual and official capacity,         :
and K. GEERT ROUWENHORST in his                        :
individual and official capacity,                      :
                                                       :
                        Defendants.                    :


         Plaintiff John Doe1 (hereinafter referred to as “Plaintiff” or “John Doe”), by his attorneys

William B. Bilcheck Jr. Law Offices and Nesenoff & Miltenberg, LLP, as and for his Complaint,

respectfully alleges as follows:

                               THE NATURE OF THIS ACTION

         1.      This case arises out of the actions taken and procedures employed by Defendants

Yale University (“Yale” or the “University”), Yale University Board of Trustees (collectively,

“Yale Defendants”), and their employees and/or agents, Sherilyn Scully (“Dean Scully”), Anjani

Jain (“Dean Jain”), Wendy Tsung (“Dean Tsung”), and K. Geert Rouwenhorst (“Professor

Rouwenhorst”) against Plaintiff, a student in Yale School of Management’s (“SOM”) Executive




1
    Plaintiff herewith files a Motion to proceed pseudonymously.
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Master of Business Administration Program (“EMBA”) program, as a result of an erroneous

finding of an honor code violation.

        2.     In investigating and adjudicating the false charges against Doe, Yale conducted a

disciplinary process that was neither thorough nor impartial, exhibited a bias against Doe, and

deprived Doe of his fundamental rights to a fair proceeding, proper notice of the charges, and the

opportunity to present his case to an impartial hearing panel.

        3.     On the basis of this erroneous, biased decision, Yale first suspended, and upon

appellate review, expelled Doe. This expulsion is unduly severe and disproportionate with the

alleged honor code violation.

        4.     A non-exhaustive list of Defendants’ wrongful actions include the following: (i)

Defendants changed the sanction imposed upon Doe, without offering him the opportunity to

defend himself to the decision making body, thus limiting his ability to defend himself; (ii)

Defendants did not afford Doe the opportunity for live questioning of the student who raised the

erroneous claim of an honor code violation to their professor; (iii) Defendants made assessments

of credibility and evidentiary weight with respect to various parties without any ascertainable

rationale or logic; (iv) Defendants evidenced a gender bias against Doe in the proceedings because

they favored the female’s wholly uncredited account of events; (v) Defendants failed to afford Doe

a prerequisite presumption of innocence; (vi) Defendants allowed a biased member of the decision

making body’s presence during proceedings; (vii) Defendants removed the sole EMBA

representative on the decision making body, and in turn, pressured Doe to proceed with an

incomplete panel; and (viii) imposed an unwarranted and disproportionate expulsion in light of all

circumstances, all of which demonstrated substantial errors in violation of federal and/or state

laws.



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       5.      As a result of Defendant’s unlawful, unjust, and discriminatory conduct, Doe

currently cannot continue his education in Yale’s EMBA program and lost the financial benefits

that accompanied attending the prestigious program. Due to the expulsion, Doe is ostracized from

his Yale SOM community of exceptional peers, the campus community, and forever damaged

emotionally by the excruciating and unfair process, and terribly unjust results flowing therefrom.

Moreover, Doe will suffer immense impact on his future career, education, and potential earnings

as a result of this erroneous expulsion.

       6.      John Doe therefore brings this action to obtain relief based on causes of action for

breach of contract, tortious interference with a contract, violations of Title IX, negligent

supervision, negligent infliction of emotional distress, intentional infliction of emotional distress,

and estoppel and reliance.

                                           THE PARTIES

       7.      Plaintiff is a natural person, a citizen of the United States, and resident of the State

of New York. During the events described herein, Plaintiff was enrolled as a student in Yale

SOM’s EMBA program.

       8.      Upon information and belief, Defendant Yale University is a private, Ivy League,

research University, ranked in the top-three universities in the United States, located in the city of

New Haven, Connecticut, with an address of Yale University, New Haven, Connecticut, 06520.

       9.      Upon information and belief, Defendants Dean Scully, Dean Jain, Dean Tsung, and

Professor Rouwenhorst are employed by Yale University.

       10.     Upon information and belief, Defendant Board of Trustees is the governing body

of Yale University. It is composed of seventeen (17) regular members (ten (10) appointed

successor trustees and six (6) elected alumni trustees) with Connecticut’s Governor and Lt.



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Governor serving as “board members ex officio.” Upon information and belief, Defendant Board

of Trustees oversees and approves Yale’s written policies, including Yale’s Code of Conduct.

        11.     Plaintiff Doe and Defendants Yale, Yale University’s Board of Trustees, Dean

Scully, Dean Jain, Dean Tsung, and Professor Rouwenhorst are sometimes hereinafter collectively

referred to as the “Parties.”

                                 JURISDICTION AND VENUE

        12.     This Court has diversity, federal question, and supplemental jurisdiction pursuant

to 28 U.S.C. § 1332, 28 U.S.C. § 1331, and 28 U.S.C. § 1367 because: (i) Plaintiff and Defendants

are citizens of different states and the amount in controversy exceeds $75,000.00, exclusive of

costs and interest; (ii) the federal law claim arises under the Constitution and Statues of the United

States of America; and (iii) the state law claims are so closely related to the federal law claim as

to form the same case or controversy under Article III of the United States Constitution.

        13.     This Court has personal jurisdiction over Defendant Yale on the grounds that is

conducting business within the State of Connecticut.

        14.     This Court has personal jurisdiction over Defendant Board of Trustees on the

grounds that it is conducting business within the State of Connecticut and in the governing body

of Yale University.

        15.     Defendants Dean Scully, Dean Jain, Dean Tsung, and Professor Rouwenhorst are

natural people, and, upon information and belief, are residents of the State of Connecticut. This

Court has personal jurisdiction over Defendants Dean Scully, Dean Jain, Dean Tsung, and

Professor Rouwenhorst on the grounds that they conduct business in the State of Connecticut and

the interactions with Plaintiff and place which the events occurred are within the State of

Connecticut.



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        16.     Venue for this action properly lies in this district pursuant to 28 U.S.C. § 1391

because Yale is considered to reside in this judicial district and the events or omissions giving rise

to this claim occurred in this judicial district.

                  FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS

        17.     Plaintiff is a graduate of Quinnipiac University, where he received a Bachelor of

Science in International Business.

        18.     Plaintiff embarked upon a career in management and finance upon receiving his

bachelor’s degree. Through hard work, determination, intelligence, and perseverance, Plaintiff

worked his way to being a manager at a large international financial services institution, where he

recruits, selects, and develops high quality financial professionals. Plaintiff has excelled in his

current role and ranked in the top five percent (5%) of all managers for 2018.

        19.     In order to develop and advance in his career, Plaintiff applied and was accepted

into Yale University’s prestigious School of Management’s EMBA program. He began as an

EMBA student in 2018, with an anticipated graduation date of Spring 2020. One hundred and

seventy-nine thousand, eight hundred dollars ($179,800) is the approximate total tuition for the

EMBA program.

        20.     During his time in the Yale EMBA program, Plaintiff excelled academically and

entrenched himself into the community. Doe’s classmates selected him for and elected him to the

Honor Committee. Additionally, Doe created meaningful relationships with professors and fellow

classmates.

Policies and Procedures

        21.     Upon Plaintiff’s enrollment at the University, Yale provided him with copies of its

university policies, including the Rights and Responsibilities of Students, which contains the Yale



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SOM Honor Code (the “Code”) and Procedures of the Honor Committee (the “Procedures”),

collectively referred to hereinafter as the “Policies.”

       22.     The 2018 – 2019 Policies were in effect at the time of the alleged incident.

       23.     The Code states in relevant part, “[h]onesty is fundamental to the profession and

practice of management. It is therefore the bedrock premise of management education at Yale,”

and provides jurisdiction to the Honor Committee over all Code violations, including matters of

academic dishonesty.

       24.     Additionally, the Code provides a standard for academic integrity at Yale.

               “The Yale SOM Community…supports the highest standards of academic
               integrity. When working on any assignment with a team, students must
               clarify the expectations for each member of the team…A student will
               contact the professor for clarification if there is a question about the way in
               which group work is to be completed. Students will familiarize themselves
               with the standards or proper citation.”

       25.     Yale SOM’s Honor Committee will consider “instances of academic infractions

and other serious violations by Yale SOM students” and is responsible for “collecting facts

pertaining to such infractions and violations, making judgments about them, and determining

punishment where appropriate.”

       26.     The Procedures provide that “[s]uspected cases of cheating or other violations of

honor code standards should be reports to the chair of the SOM Honor Committee or administrative

director of the relevant degree program…assistant dean for the M.B.A. for Executives program.”

       27.     The Procedures also provide the process that the Honor Committee follows. It is

the responsibility of the Honor Committee to “collect the facts relevant to each complaint under

consideration and make judgments on whether an infraction or violation has been committed.”

       28.     As detailed in the Procedures, the process commences when an alleged violation is

brought to the attention of the committee. Any relevant materials and written statements are

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requested by the chair or chair’s designee. Next, the chair decides “whether the offense, if the

charge is true, would be of sufficient seriousness to warrant the attention of the committee.” If the

chair decides that it is “sufficiently serious,” the chair informs the student alleged to have

committed the behavior in question, of the complaint. Simultaneously, the

               “student will be directed to review the Committee Policies and Procedures
               to apprise the student of the rights: (a) to appear before the committee, (b)
               to be accompanied by any member of the University community to act as
               the student’s academic adviser…, (c) to examine any and all written
               materials being provided to the committee as soon as possible, and
               ordinarily at least forty-eight [48] hours in advance of the meeting, so that
               the student may have ample opportunity to refute them.”

       29.     Per the Policies, the adviser “may help the student in preparing for…and may

accompany the student to the meeting” and “[d]uring the meeting…may quietly suggest questions

or issues for the student to raise” as detailed above. Additionally, “the adviser does not participate

directly in the meeting.”

       30.     The committee chair can choose whether to send the case to a subcommittee or a

full committee. A subcommittee “consists of the committee chair…plus one first-year Yale SOM

student, and one second-year Yale SOM student, chosen from the full committee. If the accused

student is in the…M.B.A. for Executives program, then one of the student members of the

subcommittee must be from the respective program” (emphasis added). Additionally, the assistant

dean serves on the committee, and acts as a non-voting secretary. “If a committee member is

excused and a quorum cannot be met, the chair will recommend to the dean a successor for

temporary appointment to the committee for participation in the matter.” The student whose

conduct is in question can object to the committee members within one day of receiving

notification from the chair as to whom the members are.




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       31.     The student that is the subject of the complaint then meets with the committee. At

the commencement of the meeting, “the chair will review the Procedures of the Committee and

the process to be followed in meetings with the committee.”

       32.     The subcommittee can select from a variety of actions to take, including, “(a)

exoneration, (b) warning (verbal or written), (c) probation, (d) mandatory F in course (for academic

infractions), or (e) send the case to the full committee.”

       33.     After decision from the committee, “the accused student may appeal any decision

from the subcommittee to the full committee...within five working days of the subcommittee’s

decision.”

       34.     Additionally, the Procedures provide that the dean appoints the full committee and

that the full committee “consists of four faculty members…six SOM students (three from each

class in residence, unless modified as under the Process section below), and the assistant dean

(who shall act as secretary to the committee and shall be nonvoting).” Furthermore, “[i]f the

accused student is in the…M.B.A. for Executives program, then at least one of the student

members must be from the respective program” (emphasis added).

       35.     The full committee may impose all of the same sanctions above as the

subcommittee, and, additionally, two more severe sanctions, which are “suspension of one of more

terms + mandatory F in course, [and]…expulsion, a permanent separation from Yale SOM. The

appeal of the subcommittee decision to the full committee can result in a sanction more severe

than the one originally imposed.” If a student is expelled, it will appear on his or her transcript,

permanently.

       36.     Additionally, the Procedures provide that the committee will endeavor to make

judgments in a prompt manner. It also details that both the subcommittee and full committee will



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endeavor to make decisions by a consensus, but, when impossible, will take a majority vote, with

a quorum, consisting of “at least two faculty members, and three students for the full committee

and all members of the subcommittee.”

       37.     When either the subcommittee or full committee reach a decision, the senior

associate dean is informed at the same time as the student, and the

               “senior associate dean will offer any student against whom an infraction or
               violation is found the opportunity to meet with the senior associate dean, as
               promptly as the dean’s schedule may permit, to raise any objections to the
               proceedings on the grounds of procedural irregularity or prejudice. If
               objection is raised, the senior associate dean will investigate the objection
               and may remand the matter to the committee for the correct procedural
               irregularity to re-deliberate after disqualifying the member or members
               found to be prejudiced. A decision of the senior associate dean that the
               proceedings were not irregular or that there is insufficient evidence of
               prejudice will be final.”

       38.     The Procedures also allow for appeal of the imposed sanction by the accused

student, in writing, from the full committee to the Faculty Review Board (“FRB”), within five

working days. It does not allow for appeal of the findings. The Procedures detail that the FRB

receives the student’s written appeal, statements, and supporting documentation, but that the

student is not permitted to attend the meeting, and that their role is “to judge the appropriateness

of the punishment assessed by the committee, assuming correctness of the committee’s finding of

a violation. The appeal of the full committee decision to the FRB can result in a sanction more

severe than the one originally imposed.” Once the FRB makes a decision, it is final and not subject

to further appeal or review.

State and Society: Group Dynamics and Think Piece Essays

       39.     As part of completion of the EMBA program, Plaintiff enrolled in State and

Society, MGT 413E, taught by professor David Bach (“Professor Bach”) during the Spring 2019




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semester. Professor Bach also serves as the Deputy Dean of the EMBA program and Acting Chair

of the FRB.

         40.     Professor Bach outlined a series of assignments in the syllabus to be completed

over the course of the semester, including two group case think piece essays, which accounted for

thirty-five percent (35%) of the overall course grade.

         41.     A separate document, provided by Professor Bach, laid out the requirements for the

case think piece essays. “Each think piece may be up to [one thousand] 1000 words plus exhibits.

It is strongly recommended that [students] develop charts, diagrams and tables to support [the]

arguments” and needed to be in essay format.

         42.     Within Yale’s EMBA program, students are assigned to “learning teams” of

approximately six students. Doe’s learning team included six students total, including Jane Roe2

and James Coe.3 Professor Bach assigned Plaintiff Doe to work in a group on the think piece essay

assignments with two fellow EMBA students in Doe’s learning team, Roe and Coe.

         43.     On the first think piece, the group did not perform up to their self-imposed high

expectations. After receiving a six (6) out of a possible ten (10) for the first paper, Roe alienated

Doe. Additionally, Roe discussed uncomfortable, highly personal topics around Doe. He kindly

asked her to refrain from discussion on such topics in light of their status in a professional EMBA

program. She used every opportunity to refute comments made by Doe, even to the point of not

acknowledging him in the same room. Despite her alienation, Doe continued to treat her cordially

and work collaboratively with her on the assignments. Roe also continued her untoward treatment

of Plaintiff, called him immature, and that he should take a semester break from the program.




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    Plaintiff refers to Jane Roe pseudonymously.
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    Plaintiff refers to James Coe pseudonymously.
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         44.     For the second group think piece, Jane Roe took the lead. Roe submitted the

question to Coe, who liked it, and to the teaching assistant for approval. Coe assisted Roe with

research and suggested an outline for the paper. Additionally, Coe suggested that they include

Plaintiff Doe in the discussion of the outline. Roe explicitly stated to Coe that she did not want to

include Doe in the discussion, despite the assignment to work collectively as a group.

         45.     Upon receiving the paper initially drafted by Jane Roe, Plaintiff Doe realized that

the think piece essay, as is, would result in another undesirable, disappointing mark due to the

numerous grammar mistakes. Professor Bach criticized grammar in the group’s first think piece

essay, which in turn made Doe uniquely aware of the it for the second think piece essay.

         46.     Doe desired to have the think piece proofread for spelling and grammar and

suggested that they have a fellow Yale SOM student in a different group to Roe. It is common

custom that Yale SOM students proofread each other’s work, which Yale SOM administrators and

professors are very much aware of, and, permit. However, Roe rejected Doe’s suggestion because

the fellow Yale SOM student, a practicing attorney, was “elbow deep in a trial” and Roe did not

want to bother him.

         47.     Plaintiff Doe received tutoring help from a friend, Yale graduate Jacob Poe4, for

the graduate school entrance exam, and felt that he would be helpful with editing the paper for

grammar. In turn, Doe offered this solution to the group, to which both Roe and Coe agreed. As

the project progressed, in a group message with Plaintiff Doe, Jane Roe, and James Coe, Doe

expressed that he would finalize the paper the same day with his friend, Poe. He also expressed

his willingness to discuss as a group to finalize the paper and that Poe raised concerns about

grammar, which would lower their score if uncorrected. Roe replied that they should do what they



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    Plaintiff refers to Jacob Poe pseudonymously.
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need to in order to finalize it and to see what the Doe’s friend said regarding the final paper. Doe

and Coe participated in an online WebEx meeting with Poe. Poe scribed a few of the ideas brought

forth by Coe in comment bubbles, specifically Coe’s argument that sugar and nicotine are not the

same, with specific phraseology, which Coe later used again in a subsequent email. In an attempt

to persuade his teammate that the paper needed additional editing, Doe overly stated the scope of

his friend’s services and that he compensated his friend for his services, to which Roe replied that

she was not comfortable with that and would submit her own paper. However, Doe did not

compensate his friend Poe for any proofreading services.

          48.     After Roe stated she intended to submit her own separate assignment, Doe and Coe

needed to decide the best path forward. Coe expressed his desire to submit the assignment.

          49.     In an effort to demonstrate total transparency and ethical decision making, Doe

contacted Professor Bach prior to turning in the assignment, in order to ensure that he properly

credited Poe’s assistance, namely, proofreading for grammar and spelling only, in the submission.

While Professor Bach was unavailable, Doe reached out to Professor Jack Voe5 (“Professor Voe”),

a former Yale SOM professor and current business school professor at another top ranked

university, who advised him on how to properly cite the assistance received. Plaintiff Doe

explained to Professor Voe that he had received proofreading assistance on an assignment, one of

his team members felt uneasy with the help received, and that he would like assistance on how to

be transparent about the assistance he accepted. Professor Voe advised to properly cite and credit

the proofreader, which Doe indeed placed on the think piece.




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    Plaintiff refers to Jack Voe pseudonymously.
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         50.     Doe also consulted his fellow EMBA class Honor Committee representative and

Yale faculty member, Jason Moe6, in his capacity and in accordance with his duties as Honor

Committee representative. After careful description of the situation to Moe, Moe advised to submit

the paper because he did not recognize any alleged issue or wrongdoing.

         51.     After consulting with various individuals, Doe and Coe submitted their think piece

essay in May 2019. On the submitted assignment, Plaintiff Doe cited and credited the proofreader,

based upon the advice he received from Moe and Professor Voe.

         52.     Roe submitted her own think piece, separate from Doe and Coe, prior to its

scheduled due date in May 2019.

         53.     In order to explain why Roe submitted a think piece separate from her assigned

group, Roe brought her concerns about the proofreader on Doe and Coe’s think piece to the

attention of the teaching assistant and Professor Bach for the class. The teaching assistant opined

that the paper submitted by Doe and Coe had a bit more to it than the paper submitted by Roe, and

that some things appeared reworded or rearranged, but that the substantial similarities between the

think piece submitted by Doe and Coe, and the separate think piece submitted by Roe were clear.

         54.     After submission of the think piece, prior to grading, and completely unaware of

Roe’s wrongful allegations against him, Doe spoke with Professor Bach directly regarding the

think piece. Again, in an effort to demonstrate complete transparency and ethical decision making,

Doe explained to Professor Bach that he received assistance with proofreading the paper for only

spelling and grammar and spoke with two knowledgeable individuals, Professor Voe and Honor

Committee Member Moe, regarding how to properly cite the proofreader in an ethical manner.

Professor Bach questioned why Doe did not seek assistance from an internal Yale resource,



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    Plaintiff refers to Jason Moe pseudonymously.
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specifically the Graduate Writing Lab, to which Doe replied he did not know such a Yale resource

existed. However, as per the Poorvu Center for Teaching and Learning’s Website, the Graduate

Writing Lab does not provide proofreading services. Graduate Writing Laboratory – Frequently

Asked Questions, YALE UNIVERSITY POORVU CENTER                 FOR   TEACHING    AND   LEARNING,

https://poorvucenter.yale.edu/writing/graduate/individual-writing-consultations/frequently-

asked-questions (last visited October 18, 2019). Additionally, Doe offered to receive no credit for

the assignment and receive a zero (0) as a grade.

       55.     Doe and Coe later received a seven (7) out of a possible ten (10) points for a grade

on their think piece essay.

Honor Committee Review and Decision

       56.     Professor Bach submitted the case and materials for Honor Committee review on

or around July 3, 2019, approximately two months after the submission of the think piece.

       57.     Plaintiff Doe received an email on July 11, 2019 from the Assistant Dean of the

EMBA program, Wendy Tsung, that asked Doe to speak on the phone with both her and the

Assistant Dean for Academic Affairs and Student Life, Dean Scully, related to an academic issue.

       58.     On the phone call, which occurred on or around July 15, 2019, Doe spoke with

Deans Tsung and Scully. Dean Scully made accusatory comments towards Doe, indicating that

she already decided upon an erroneous conclusion regarding both Doe and Doe’s alleged honor

code situation. She aggressively questioned why Doe spoke with Professor Bach regarding the

paper. Doe expressed that he did so in an effort to demonstrate total transparency and ethical

decision making. Furthermore, Doe detailed that he spoke with Moe prior to submission of the

assignment and Dean Scully took no issue with it.




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       59.       Additionally, Dean Scully informed Doe that the alleged violation would move

forward to a full committee hearing and that Doe, in his capacity as honor committee member,

would be recused from participation, and Moe, the other EMBA student honor committee member,

would participate.

       60.       The Honor Committee that reviewed Doe’s case included:

             •   Professor Rouwenhorst, Robert B. and Candice J. Haas Professor of Corporate

                 Finance and Deputy Director of the International Center for Finance, as Chairman

                 of the Honor Committee;

             •   Shyam Sunder (“Professor Sunder”), James L. Frank Professor of Accounting,

                 Economics, and Finance;

             •   James Choi (“Professor Choi”) Professor of Finance;

             •   Three Yale SOM non-EMBA students;

             •   Yale SOM EMBA student Jason Moe; and

             •   Ex officio members Deans Scully and Tsung.

       61.       Plaintiff Doe submitted a series of materials to the Honor Committee reviewing the

case. His statement detailed that the help received did not amount to more than grammar and

proofreading edits. He also submitted the redline document of the assignment that he received

from Poe, which plainly portrayed that every edit made by his friend was for proofreading and

grammar. Additionally, he submitted the email he sent to Professor Bach, prior to submission of

the assignment, asking to talk to him, and two conversations with Roe and Coe regarding the

assignment.

       62.       Professor Voe submitted a letter to the honor committee, stating that he had Doe

as a student, and the two remained in contact after conclusion of the course. Additionally, he


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detailed that Doe explained to him that one of Doe’s team members felt uneasy about the help

received on the paper and Doe thus sought advice on how to transparently and properly disclose

the assistance he received for the assignment. Doe’s friend Poe also delivered a letter to the Honor

Committee, dated August 29, 2019, that detailed his involvement. Poe provided that he made only

general spelling and grammar edits to the paper and did not receive any compensation for his work.

       63.     Throughout the entire honor committee review process, Doe was honest and

transparent regarding the situation in order to demonstrate that he did not have anything to hide

concerning the help received.

       64.     By way of comparison, Coe, the team member who worked on the paper with Doe

and Roe, submitted an email to the honor committee that Coe received from Roe, where Roe stated

that she also used her own proofreader, a “tech editor” with whom she worked. However, Yale

failed to take any action against Roe upon receipt of this information. Coe also brought this directly

to the attention of Dean Scully, who similarly declined to take any action.

       65.     On or around September 6, 2019, the Honor Committee met to review the case.

While awaiting appearance before the committee, Doe heard Moe and Dean Tsung communicating

loudly in the hallway.

       66.     Directly prior to entering the room to appear before the Honor Committee, Dean

Scully informed Doe and Coe that due to a procedural issue, Moe would not be serving on the

Honor Committee reviewing their alleged infraction and inquired whether they would proceed

without an EMBA representative. Coe immediately responded yes. Dean Scully turned her

attention to Doe and informed him that if he did not proceed that very day, it would be another

five weeks until another Honor Committee meeting could potentially occur. Under the forceful




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eyes of Dean Scully, with her words ringing in his head, Doe felt immense, immediate pressure to

move forward, or else face a committee biased against him for delaying the process.

         67.     The Honor Committee members attacked Doe with questions. For instance, an

Honor Committee member questioned Doe on a specific document, which Doe requested

clarification on which document it was, and whether he could see it. This Honor Committee

member hostilely replied that Doe was not entitled to see the document at the subject of the

questioning.

         68.     The Honor Committee also questioned Doe regarding the assistance given by Poe.

Doe stated that Poe only assisted with proofreading, namely spelling and grammar. He also

detailed the WebEx meeting between Coe, Poe, and himself regarding the think piece, where Coe

asserted that sugar and nicotine are not the same thing, with specific word usage, which Poe scribed

into a comment bubble. Doe also highlighted a subsequent email where Coe used similar

phraseology, which is indicative of his original work. Again, in an effort to demonstrate full

transparency, Doe took out his laptop and forwarded these documents to the Honor Committee

during the meeting. The Honor Committee instructed him to send it to Dean Scully, which he did.

         69.     Doe also brought an adviser, former Navy commander Jenna Loe7, with him to the

Honor Committee hearing, as permitted by the Policies. Per the Policies, the adviser “may help the

student in preparing for…and may accompany the student to the meeting” and “[d]uring the

meeting…may quietly suggest questions or issues for the student to raise” as detailed above.

Additionally, and most importantly, “the adviser does not participate directly in the meeting,” per

the Policies (emphasis added).




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    Plaintiff refers to Jenna Loe pseudonymously.
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       70.     Honor Committee Member Professor Sunder asked Doe whether anyone helped

him prepare his statement. He replied that his adviser, Loe, present in the room, assisted him, as

permitted by the Policies. Professor Sunder then asked permission of the Chairman of the Honor

Committee, Professor Rouwenhorst, to “cross-examine” Loe at that very moment. Professor

Rouwenhorst erroneously permitted and encouraged Professor Sunder to cross-examine Loe,

Doe’s adviser. This wrongful cross-examination, and clear deviation from the Policies, continued

for approximately five to ten minutes. This clearly demonstrates the Committee’s bias and

unfairness towards Doe.

       71.     After the Honor Committee hearing, Doe returned to class, and continued about his

day as best he could.

       72.     While in class, Doe noticed that Roe received a phone call, stepped out to take it,

and returned shortly after with a smile upon her face.

       73.     Ten minutes after Roe’s phone call, approximately around five o’clock, Doe

received a phone call from Dean Scully, that requested Doe’s presence in a conference room. Doe

met Defendants Professor Rouwenhorst, Dean Scully, and Dean Tsung in the conference room

where they informed him that the Honor Committee erroneously found that he “engaged in

improper collaboration” regarding the think piece assignment, and consequently suspended him

for one calendar year.

       74.     During the conference room meeting with Defendants Dean Scully, Dean Tsung,

and Professor Rouwenhorst, Doe asked for the basis of the decision. Professor Rouwenhorst

replied that they credited a WhatsApp message interaction as the basis for their decision (in turn,

disregarding the vast majority of the evidence Doe submitted, as well as his live statement in the




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Honor Committee meeting). Additionally, Doe inquired as to whether he should appeal. Professor

Rouwenhorst stated that most students appeal.

       75.     Coe received also received a suspension from Yale SOM and would be required to

pay tuition while serving the suspension.

Post-Honor Committee Sanction: Occurrences and FRB Appeal

       76.     The day after the Honor Committee hearing, September 7, 2019, Moe, who served,

and was subsequently removed, as the only EMBA honor committee representative, wrote a letter

to express his dismay over the decision regarding Plaintiff Doe’s case. In Moe’s letter, he detailed

that in the Honor Committee meeting, after discussing his background knowledge of the case, as

well as his familiarity with Plaintiff Doe and James Coe, Dean Scully told him that she felt he

acted inappropriately. He described in this letter that Dean Scully asked him to leave the room so

the Honor Committee could conduct a vote on whether or not to allow Moe to participate in further

proceedings regarding the case.

       77.     The Honor Committee erroneously voted to remove Moe from any further

proceedings of discussion, thus leaving the Honor Committee without it’s required EMBA student

representative, as required by the Policy.

       78.     Moe continued in his letter to express that the Honor Committee did not value his

opinions, or the opinions of the EMBA class. Additionally, Moe believed the Honor Committee

removed him because his opinion differed than the opinions of the others. He further noted that

after the meeting, he met with Professor Bach about his concerns. Professor Bach verified that

Moe acted appropriately.




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       79.     Yale placed an undue amount of pressure upon Doe to move the Honor Committee

review along and he hastily agreed to move forward without EMBA representation due to this

unwarranted pressure because of his desire to continue in the program, as detailed above.

       80.     Plaintiff Doe subsequently expressed his concerns regarding the committee to Dean

Anjani Jain, Deputy Dean for Academic Programs and Professor in the Practice of Management,

and Chairman of the FRB, and Dean Scully, in a phone call on September 11, 2019 and an email,

dated September 13, 2019, prior to the submission of his appeal. Doe highlighted that the Honor

Committee that reviewed his case only consisted of three faculty members and three students.

Additionally, he expressed to Dean Jain that he felt as though the Honor Committee did not fairly

assess and evaluate his statements during the meeting because it appeared that the Honor

Committee decided upon a wrongful finding of responsibility, as well as the disproportionate

sanction, prior to the hearing. He also detailed that Dean Scully improperly removed the Policy

mandated EMBA student from the Honor Committee, which unfairly left his section unrepresented

during the committee review of his own case. Doe also explained to Dean Jain that the entire

process impacted him immensely and shared that he suffered from panic attacks caused by the

undue stress this process placed upon him and that sought the help of a therapist. Additionally,

Doe asked for clarification regarding his options from that point forward, specifically, whether he

should appeal to the FRB.

       81.     In the same email, Plaintiff Doe voiced his unease that Dean Scully, ex officio

member of the Honor Committee that reviewed his case, had a close personal relationship Jane

Roe, the student that Doe worked on the think piece with and who brought forth the allegations

against Doe to Professor Bach’s attention. This close relationship was evidenced by the fact that

Roe has been an overnight guest in Dean Scully’s home and that Roe’s fiancé shared shabbat



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dinners with Dean Scully. Doe stated that at no point in the process did Roe, Dean Scully, or Yale

disclose this relationship to him, and, that had he been aware, he would have asked for her removal

from the committee. Alternatively, he questioned why Dean Scully did not recuse herself from the

committee. Doe disclosed this information immediately upon awareness of it.

         82.     Dean Jain refuted several of Doe’s points. First, Dean Jain detailed that the Honor

Committee unanimously voted to remove the EMBA student representative from the committee,

that it was “entirely appropriate,” and, that Doe declined the option to replace this member,

completely ignoring the immense pressure the University placed upon Doe to continue forward

with the Honor Committee hearing. Additionally, Dean Jain erroneously refuted the existence of

Roe and Dean Scully’s personal relationship. Dean Jain provided that Roe was the fiancé of a

family friend, that Dean Scully had no prior relationship with Roe, and that the only reason Roe

may have stayed in Dean Scully’s home, which allegedly could not be confirmed, would have been

with the fiancé’s family. Lastly, Dean Jain provided that Doe’s next step was to appeal to the FRB.

         83.     Doe replied again, refuting Dean Jain’s erroneous statement regarding the close

personal relationship of Roe and Dean Scully and requested Dean Scully’s removal from the

FRB’s review of his appeal. Dean Jain, despite insistence of Dean Scully’s impartiality and

continuous erroneous denial of the personal relationship with Roe, honored the request, and Dean

Tsung subsequently served alone as ex officio member.

         84.     Separately, Doe contacted Jason A. Killheffer (“Killheffer”), Assistant Provost,

Senior Deputy Title IX Coordinator on September 12, 2019. He recounted his situation, as detailed

above.




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       85.     Killheffer asked Doe to forward Moe’s email. He additionally promised to follow

up and contact Doe with next steps. However, Killheffer failed to take any additional action or

subsequently contact Doe.

       86.     Doe appealed the sanction to the FRB, as permitted by the Policies. He submitted

materials and a statement that detailed all the steps taken in order to ensure transparency and ethical

decision making and expressed his desire to continue forward in the EMBA program. Doe did not

appear live in a hearing before the FRB because Yale’s Policies wrongly do not allow for a live

appeal hearing before the FRB.

       87.     Dean Jain requested that Plaintiff Doe telephone him on September 17, 2019, to

inform Doe of the decision of the FRB.

       88.     On this call, Dean Jain notified Doe that the FRB wrongly changed Doe’s

suspension of one year to a permanent expulsion, a complete separation, from Yale SOM’s EMBA

program, a sanction disproportionate with the alleged wrongdoing.

       89.     Yale imposed an unnecessarily severe sanction upon Doe, particularly in light of

other sanctions dispensed. For instance, three of Doe’s Yale SOM classmates received the same

one-year suspension for an infraction of a more severe nature. These three classmates shared an

answer key to a take home exam while on a train ride, thus constituting cheating on the exam. A

fourth classmate witnessed the behavior and subsequently reported it. At first, the three classmates

that shared the answer key denied the allegations. However, eventually, the three submitted a

statement to the Honor Committee, admitted guilt, and in turn, received a one-year suspension.

       90.     Coe also appealed, and, conversely, the FRB reduced his suspension to six months,

without associated costs.

Plaintiff Doe’s Injuries



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       91.     Plaintiff Doe’s official Yale transcript now bears a notation of a permanent

expulsion due to this sanction that is disproportionate with the conduct Doe exhibited.

       92.     Yale did not afford Plaintiff Doe any opportunity to appeal the FRB’s imposition

of the erroneous sanction of expulsion.

       93.     As a result of Defendant’s unlawful actions, Doe has suffered and will continue to

suffer immense losses. It will be enormously difficult for Doe to transfer his credits to any other

EMBA program to obtain any EMBA degree, let alone from an institution as prestigious as Yale.

Due to the black mark on his transcript, he will forever have to explain the reasons for his

expulsion.

       94.     Plaintiff’s career will forever be impacted. Plaintiff Doe currently is employed as a

manager at a large international financial services institution, where he recruits, selects, and

develops high quality financial professionals, as previously discussed. He has excelled in his

current role and ranked in the top five percent (5%) of all managers for 2018. Additionally, Doe

has several professional licensures that he worked tirelessly to obtain. This expulsion could impact

whether he maintains those licensures.

       95.     Doe has also experienced emotional, psychological, and physical distress as a result

of the investigation and his expulsion.

       96.     The marking of Plaintiff’s academic transcript with an expulsion for an honor code

violation will permanently deny Plaintiff’s educational and career opportunities, as he will forever

be forced to explain that a biased decision-making body erroneously determined that he violated

the Honor Code. Plaintiff will be unable to pursue a career in professions which require licensure

or background checks, which will permanently alter the trajectory of Doe’s life.

                        AS AND FOR A FIRST CAUSE OF ACTION



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                                       Breach of Contract
                                       (Yale Defendants)

       97.      John Doe repeats and realleges each and every allegation hereinabove as if fully set

forth herein.

       98.      Doe applied to and enrolled in the University and paid the associated fees and

expenses. Doe did so in reliance on the understanding and with the reasonable expectation that the

University would implement and enforce the provisions and policies set forth in its official

publications, including the Policy. Through the documents it publishes and provides to students,

the Yale Defendants make express contractual commitments to students involved in an honor code

violation process.

       99.      An express contract, or, alternatively, a contract implied in law or in fact was

formed between Doe and the University.

       100.     The contract contained an implied covenant of good faith and fair dealing.

Defendants implicitly guaranteed that any proceedings would be conducted with basic fairness.

       101.     Based on the aforementioned facts and circumstances, Defendants breached

express and/or implied agreement(s) with Plaintiff and the covenant of good faith and fair dealing

contained therein.

       102.     Defendants committed several breaches of their agreements with Plaintiff Doe

during the Honor Code violation review process. A non-exhaustive list of Defendants’ breaches

includes the following:

                Failure to Notify Plaintiff of Charges Against Him and Standard of Review

       103.     Defendants failed to properly notify Plaintiff of the charges against him and rights

under Yale’s policies because Defendants asked Doe to call Deans Scully and Tsung cryptically




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regarding an academic issue, without an adviser, and without full knowledge of the complaint

alleged against him.

       104.    Additionally, Yale’s Policies do not set forth the standard of review employed by

the Honor Committee when making a decision regarding a code of conduct violation. Without

knowledge of the standard of review upon which his credibility and materials would be assessed,

Doe could not adequately prepare or know what would be expected of him to produce for the

Honor Committee meeting.

               Failure to Assemble a Full Committee

       105.    Defendants failed to afford Doe a full panel to review his case.

       106.    The Procedures provide that the dean appoints the full committee and that the full

committee “consists of four faculty members…six SOM students (three from each class in

residence, unless modified as under the Process section below), and the assistant dean (who shall

act as secretary to the committee and shall be nonvoting).”

       107.    The Honor Committee that reviewed Doe’s case included only three professors and

three students. This Committee fell short of the prescribed number of members by one faculty

member and three students. Yale failed to afford the proper opportunity to have Doe’s case heard,

reviewed, and decided by a properly assembled panel, in compliance with the Policies.

               Failure to Afford EMBA Student Representation on the Honor Committee
               and Undue Pressure Imposed upon Doe to Move Forward with the Meeting

       108.    Defendants failed to afford Doe EMBA student representation on the Honor

Committee that reviewed his case.

       109.    The Policies, in relevant portion, state, “[i]f the accused student is in the…M.B.A.

for Executives program, then at least one of the student members must be from the respective

program” (emphasis added).

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         110.   Dean Scully erroneously called for and lead the Honor Committee in a vote to

remove Moe, the sole EMBA student representative, from the Honor Committee reviewing Doe’s

case. The removal of Doe’s peer from the panel caused Doe’s section to be unrepresented and did

not afford Doe the opportunity to have his conduct reviewed by a peer.

         111.   Moe himself reflected the injustice and circumstances surrounding his removal in

a letter he scribed for review upon appeal.

         112.   The circumstances in which Yale pressed forward with the Honor Committee

meeting are cause for alarm. Dean Tsung pressured Doe to move forward, or else face a committee

biased against him for delaying the process because she approached Doe regarding Moe’s removal

directly prior to entering the room to appear before the Honor Committee. Additionally, Coe

immediately replied yes, to which, Doe felt even more pressure under the forceful eyes of Dean

Tsung.

                Wrongful Cross-Examination of Doe’s Adviser

         113.   Defendants failed to properly follow their policies in the Honor Committee Review

meeting because they cross-examined Doe’s adviser, Jenna Loe.

         114.   Per the Policies, the adviser “may help the student in preparing for…and may

accompany the student to the meeting” and “[d]uring the meeting…may quietly suggest questions

or issues for the student to raise” as detailed above. Additionally, and most importantly, “the

adviser does not participate directly in the meeting,” per the Policies (emphasis added).

         115.   Professor Rouwenhorst, chair of the Honor Committee improperly permitted

Professor Sunder to cross-examine Loe during the Honor Committee meeting. The Policies, re-

printed above, do not allow for Loe for participate in the meeting directly. Therefore, cross-

examination, or questioning in any manner for that matter, is impermissible under the Policies.



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       116.    Additionally, Professor Sunder vehemently questioned Loe on the assistance she

provided for Doe to prepare for the meeting. Per the Policies, Doe is permitted to receive assistance

preparing for the meeting. Professor Sunder’s wrongful questioning, erroneously permitted by

Professor Rouwenhorst, painted Doe’s assistance in an unfavorable light, which likely contributed

to their erroneous imposition of a sanction against him.

               Disregarded Evidence that Supported Doe’s Credibility and Highlighted his
               Adherence the Policies

       117.    The Honor Committee blatantly ignored evidence that supported Doe’s credibility

and highlighted his adherence to the Policies. The Code states in relevant part, “[h]onesty is

fundamental to the profession and practice of management. It is therefore the bedrock premise of

management education at Yale,” and provides jurisdiction to the Honor Committee over all Code

violations, including matters of academic dishonesty. Additionally, the Code provides a standard

for academic integrity at Yale.

                “The Yale SOM Community…supports the highest standards of academic
               integrity. When working on any assignment with a team, students must
               clarify the expectations for each member of the team…A student will
               contact the professor for clarification if there is a question about the way
               in which group work is to be completed. Students will familiarize
               themselves with the standards or proper citation.”

(emphasis added).

       118.    Additionally, it is the responsibility of the Honor Committee to “collect the facts

relevant to each complaint under consideration and make judgments on whether an infraction or

violation has been committed.”

       119.    The Honor Committee failed to consider that Doe contacted Professor Bach, the

professor for the course, to receive his guidance, as the Code, reprinted above, prescribes. Doe

contacted Professor Bach on his own accord to show total transparency after submission of the



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think piece essay to again discuss the proper citation form and raise awareness to Professor Bach,

which, yet again, the Honor Committee failed to consider. Additionally, Doe contacted a former

professor while Professor Bach remained unresponsive, to ensure that he properly cited the

assistance received.

       120.    The Honor Committee also failed to take into account the materials that Doe

submitted which evidence the help received, specifically a document that details each and every

change made by the proofreader. Other documents that the Honor Committee failed to consider

include emails, letters, and Doe’s own statement, detailed above. Additionally, the Honor

Committee failed to consider the actions taken by Doe to demonstrate total transparency

throughout the process, including the guidance from several professors and an Honor Committee

representative, full disclosure, and proper citation of the assistance received on the think piece

essay in question.

               Failure to Remove a Biased Honor Committee Member

       121.    Dean Scully failed to recuse herself from the Honor Committee review and meeting

due to her personal relationship with Jane Roe and Roe’s fiancé.

       122.    The Policies allow for removal of any Honor Committee members, upon request

by the student whose alleged conduct is in question.

       123.    While Defendants removed Dean Scully from the FRB proceeding, the damage she

inflicted already tainted the proceedings because she called for a vote to remove, and subsequently

removed Moe from the Honor Committee.

       124.    Doe raised this concern immediately upon when he received the knowledge of Dean

Scully’s personal relationship with Roe. However, as highlighted above, Dean Scully had already

participated in the Honor Committee meeting.



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               Lack of Rationale for Expulsion

       125.    The FRB did not provide a rationale for the decision and sanction of expulsion in

violation of Yale’s policy.

       126.    Yale’s Policies do not set forth the standard of review employed by the Honor

Committee when making a decision regarding a code of conduct violation. Without knowledge of

the standard of review, it is impossible for Plaintiff Doe to understand how the FRB concluded to

expel him from Yale.

       127.    In the interest of fair process, Defendants should have provided Doe with an

explanation beyond “violat[on] [of] the school’s Honor Code.”

       128.    Additionally, Doe’s expulsion is exceptionally excessive because Coe, his think

piece team member, received a one semester suspension, for the same alleged misconduct.

       129.    Defendants failed to impose a proportional sanction to the alleged misconduct.

       130.    Defendant also imposed an unjustly severe penalty upon John Doe, wholly

disproportionate to the conduct in question. For instance, the Honor Committee imposed a one-

year suspension to other Yale SOM students that cheated on an exam. Yale SOM’s Honor

Committee did not expel these students even though cheating is a more severe infraction than

Doe’s alleged infraction that consisted of properly credited proofreading.

       131.    Based upon the foregoing, as a direct and proximate result of Defendants’ conduct

as alleged above, John Doe sustained substantial injury, damage, and loss, including, but not

limited to, mental anguish; severe emotional distress; loss of capacity for the enjoyment of life;

injury to reputation; past and future economic loss; deprivations of due process; loss of educational

opportunities; loss of tuition fees; and loss of future employment prospects.




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       132.     As a result of the foregoing, John Doe is entitled to damages in an amount to be

determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs, and disbursements.

                       AS AND FOR A SECOND CAUSE OF ACTION

                            Tortious Interference with a Contract
                      (Defendants Scully, Rouwenhorst, Tsung, and Jain)

       133.     John Doe repeats and realleges each and every allegation hereinabove as if fully set

forth herein.

       134.     At all times relevant to this complaint, Plaintiff John Doe had a contractual

relationship with Yale.

       135.     At all times relevant to this Complaint, Defendants Dean Scully, Dean Tsung, Dean

Jain and Professor Rouwenhorst knew of Doe’s contractual relationship with Yale.

       136.     At all times relevant to this Complaint, Defendants Deans Scully and Tsung, in

their roles on the Honor Committee, and Defendant Rouwenhorst, in his role as Honor Committee

chair, were responsible for ensuring that Doe received fair and equitable treatment, and that all the

Honor Committee, followed the Yale Policies properly.

       137.     Defendant Scully, by her actions and omissions described, specifically, the

spearheading of Moe’s dismissal from the Honor Committee and her failure to recuse herself due

to her personal relationship with the student who brought forth the alleged action, intentionally

and maliciously interfered or attempted to interfere with Doe’s relationship with Yale.

       138.     Defendant Tsung, by her actions and omissions described, specifically the pressure

she imposed upon Doe to proceed with the Honor Committee meeting, despite improper removal

of EMBA student representation on the aforementioned committee, intentionally and maliciously

interfered or attempted to interfere with Doe’s relationship with Yale.




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       139.     Defendant Rouwenhorst, by his actions and omissions described above, specifically

his improper permittance of Professor Sunder’s “cross-examination” of Doe’s adviser, Jenna Loe,

and disregard for Yale’ Policies, intentionally and maliciously interfered or attempted to interfere

with Doe’s relationship with Yale.

       140.     Defendant Jain, by his actions and omissions describe above, specifically the failure

to provide a reason for Doe’s expulsion, intentionally and maliciously interfered or attempted to

interfere with Doe’s relationship with Yale.

       141.     Based upon the foregoing, as a direct and proximate result of Defendants’ conduct

as alleged above, John Doe sustained substantial injury, damage, and loss, including, but not

limited to, mental anguish; severe emotional distress; loss of capacity for the enjoyment of life;

injury to reputation; past and future economic loss; deprivations of due process; loss of educational

opportunities; loss of tuition fees; and loss of future employment prospects.

       142.     As a result of the foregoing, John Doe is entitled to damages in an amount to be

determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs, and disbursements.

                        AS AND FOR A THIRD CAUSE OF ACTION

                            Violation of Title IX of the Educational
                          Amendments of 1972: Selective Enforcement
                                       (Yale Defendants)

       143.     John Doe repeats and realleges each and every allegation hereinabove as if fully set

forth herein.

       144.     Plaintiff Doe sustained discrimination because of his sex that was so severe,

pervasive, and/or objectively offensive, that it deprived him of access to educational opportunities.

       145.     Defendants treated Jane Roe more favorably than Plaintiff Doe at every turn. First,

Defendants decided to move forward with the Honor Committee review due to motivation of bias



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with respect to sex. Next, Defendants made wrongful assessments of credibility regarding the

claims that Roe brought forth, despite a variety of evidence presented by Doe, including his

actions, documents, and statements. Additionally, Defendants, in a wrongful and desperate effort

to find that Doe violated an academic policy, committed several violations of their own Policies

in the Honor Committee meeting, which evidence their bias against Doe, which are highlighted in

detail above. Lastly, and most importantly, Defendants blatantly disregarded and ignored evidence

presented that Roe herself received assistance editing the paper from an outsource. Defendants

chose to bring forth the case of the alleged incident concerning Doe’s proofreading because of

their bias against Doe due to his gender.

       146.    Conversely, Defendants failed to take any action, despite their awareness, regarding

Roe’s allegedly more severe honor code violation, particularly in light of the fact that she did not

disclose the assistance she received from an outside source with her think piece essay.

       147.    Plaintiff, based solely on his gender, suffered selective enforcement of the

disciplinary process which has limited his ability to participate in and benefit from Yale’s

educational program. Yale’s unlawful discrimination violated Title IX and caused John Doe to

sustain substantial injury, damage, and loss, including, but not limited to, mental anguish; severe

emotional distress; loss of capacity for the enjoyment of life; injury to reputation; past and future

economic loss; deprivations of due process; loss of educational opportunities; loss of tuition fees;

and loss of future employment prospects.

       148.    As a result of the foregoing, Plaintiff Doe is entitled to damages in an amount to be

determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs, and disbursements.

                       AS AND FOR A FOURTH CAUSE OF ACTION

                                      Negligent Supervision
                                       (Yale Defendants)

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       149.     John Doe repeats and realleges each and every allegation hereinabove as if fully set

forth herein.

       150.     The Defendants’ Honor Committee review and hearing, and all related conduct

occurred under Defendants’ authority and with Defendants’ specific knowledge. The FRB’s

wrongful decision to expel Plaintiff Doe and all related conduct also occurred under Defendants’

authority, with Defendants’ specific knowledge.

       151.     Defendants’ failed to adequately supervise the Honor Committee and the FRB

sufficiently to provide Plaintiff with a fair and impartial adjudication in accordance with

Defendants’ policies and applicable law, as well as how to properly assess credibility, while

considering all evidence and statements.

       152.     Based upon the foregoing, as a direct and proximate result of Defendants’ conduct

as alleged above, John Doe sustained substantial injury, damage, and loss, including, but not

limited to, mental anguish; severe emotional distress; loss of capacity for the enjoyment of life;

injury to reputation; past and future economic loss; deprivations of due process; loss of educational

opportunities; loss of tuition fees; and loss of future employment prospects.

       153.     As a result of the foregoing, Plaintiff Doe is entitled to damages in an amount to be

determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs, and disbursements.

                         AS AND FOR A FIFTH CAUSE OF ACTION

                            Negligent Infliction of Emotional Distress
                                        (All Defendants)

       154.     John Doe repeats and realleges each and every allegation hereinabove as if fully set

forth herein.




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       155.     The Defendants’ conduct, as described above, caused Plaintiff mental anguish and

emotional distress.

       156.     Plaintiff’s mental anguish and emotional distress were foreseeable.

       157.     Plaintiff’s mental anguish and emotional distress were severe enough that they

might result in bodily harm or illness. Due to the undue stress placed upon Plaintiff during this

process, Doe has been unable to sleep and suffers from severe anxiety, which impacts his daily

life. He requires counselling and medication to assist him.

       158.     The defendants’ conduct in fact caused Plaintiff’s severe and substantial mental

anguish and emotional distress. As a result of Defendants’ conduct, Plaintiff suffers from severe

anxiety and sleep deprivation.

       159.     As a result of the foregoing, Plaintiff Doe is entitled to damages in an amount to be

determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs, and disbursements.

                        AS AND FOR AN SIXTH CAUSE OF ACTION

                           Intentional Infliction of Emotional Distress
                                         (All Defendants)

       160.     John Doe repeats and realleges each and every allegation hereinabove as if fully set

forth herein.

       161.     The Defendants knew or should have known that emotional distress was the likely

result of their conduct, described above.

       162.     The Defendants exercised extreme and outrageous conduct from the onset of the

Honor Committee referral throughout the entire process, by selecting to refer the case to the Honor

Committee, committing numerous violations of the Policies, and imposing a disproportionate

sanction of expulsion to the alleged conduct in violation of the Policies, particularly in light of




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Doe’s team member’s sanction of a one semester suspension for the same alleged violation and

prior Honor Committee sanctions imposed for more severe infractions.

       163.     The Defendants’ conduct in fact caused Plaintiff severe and substantial mental

anguish and emotional distress. As a result of Defendants’ conduct, Plaintiff suffers from severe

anxiety and sleep deprivation.

       164.     As a result of the foregoing, Plaintiff Doe is entitled to damages in an amount to be

determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs, and disbursements.

                      AS AND FOR AN SEVENTH CAUSE OF ACTION

                                      Estoppel and Reliance
                                        (Yale Defendants)

       165.     John Doe repeats and realleges each and every allegation hereinabove as if fully set

forth herein.

       166.     Yale’s various Policies constitute representations and promises that Yale should

have reasonably expected to induce action or forbearance by Plaintiff.

       167.     Yale expected or should have expected Plaintiff to accept its offer of admission,

incur tuition fees and expenses, and choose not to attend other graduate programs based on its

express and implied promises that Yale would not tolerate, and Plaintiff would not suffer,

discrimination by fellow students of faculty members, and would not deny Plaintiff his procedural

rights should he be accused of a violation of any of Yale’s policies.

       168.     Plaintiff relied to his detriment on these express and implied promises and

representations made by Yale, by choosing to enroll in Yale’s EMBA program.

       169.     Based on the foregoing, Yale is liable to Plaintiff based on Estoppel.




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       170.      As a direct and proximate result of the above conduct, Plaintiff sustained damage,

including, without limitation, loss of educational and career opportunities, economic injuries and

other direct and consequential damages.

       171.      As a result of the foregoing, Plaintiff Doe is entitled to damages in an amount to be

determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs, and disbursements.

                                      PRAYER FOR RELIEF

       WHEREFORE, for the foregoing reasons, Plaintiff demands judgment against Defendants

as follows:

       (i)       on the first cause of action for breach of contract, a judgment awarding Plaintiff

                 damages in an amount to be determined at trial, without limitation, past and future

                 economic losses, loss of educational and career opportunities, damages to

                 reputation, and loss of future career prospects;

       (ii)      on the second cause of action for tortious interference with a contract, a judgment

                 awarding Plaintiff damages in an amount to be determined at trial, without

                 limitation, past and future economic losses, loss of educational and career

                 opportunities, and loss of future career prospects;

       (iii)     on the third cause of action for violation of Title IX of the Education Amendments

                 of 1972, judgment awarding Plaintiff damages in an amount to be determined at

                 trial, without limitation, damages to physical well-being, emotional and

                 psychological damages, damages to reputation, past and future economic losses,

                 loss of educational and career opportunities, and loss of future career prospects;

       (iv)      on the fourth cause of action for negligent supervision, judgment awarding Plaintiff

                 damages in an amount to be determined at trial, without limitation, past and future



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          economic losses, loss of educational and career opportunities, and loss of future

          career prospects;

(v)       on the fifth cause of action for negligent infliction of emotional distress, judgment

          awarding Plaintiff damages in an amount to be determined at trial, without

          limitation, past and future economic losses, loss of educational and career

          opportunities, and loss of future career prospects;

(vi)      on the sixth cause of action for intentional infliction of emotional distress, judgment

          awarding Plaintiff damages in an amount to be determined at trial, without

          limitation, past and future economic losses, loss of educational and career

          opportunities, and loss of future career prospects;

(vii)     on the seventh cause of action for estoppel and reliance, judgment awarding

          Plaintiff damages in an amount to be determined at trial, including, without

          limitation, damages to past and future economic losses, loss of educational and

          career opportunities, and loss of future career prospects; and

(viii)    a declaratory judgment, pursuant to 28 U.S.C. § 2201, declaring that: (i) the

          sanction of expulsion by Yale should be reversed; (ii) Plaintiff immediately

          reinstated as a student in good standing and permitted to begin classes immediately

          upon commencement of the next semester; (iii) Plaintiff’s reputation should be

          restored; (iv) Plaintiff’s disciplinary record be expunged; (v) the record of

          Plaintiff’s expulsion be removed from his education file; (vi) any record of the

          proceeding regarding the conduct of Plaintiff be permanently destroyed; and (vii)

          awarding Plaintiff such other and further relief as the Court deems just, equitable

          and proper.



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                                       JURY DEMAND

      John Doe demands a trial by jury of all triable issues in the present matter.

Dated: New York, NY                         Respectfully submitted,
      October 21, 2019                      Attorneys for the Plaintiff

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